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 1    Michael John Avenatti (Pro Se)
 2
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 5
 6    Advisory Counsel for Defendant
      MICHAEL JOHN AVENATTI
 7
 8
                               UNITED STATES DISTRICT COURT
 9
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
10
11    UNITED STATES OF AMERICA,                    SA CR No. 19-061-JVS
12                Plaintiff,                       DEFENDANT’S EX PARTE
                                                   APPLICATION FOR AN ORDER
13                       v.                        EXTENDING DEFENDANT’S
                                                   TEMPORARY RELEASE
14    MICHAEL JOHN AVENATTI,
                                                   [Proposed Order filed concurrently
15                Defendant.                       herewith]
16
17
18          Defendant MICHAEL JOHN AVENATTI (“Mr. Avenatti”), by and through his
19    advisory counsel of record, H. Dean Steward, hereby files this Ex Parte Application for
20    an Order Extending Defendant’s Temporary Release from December 1, 2021 to March
21    1, 2022. The government has informed the defense that the government opposes this
22    request.
23
       Dated: November 18, 2021                Respectfully submitted,
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25
                                              /s/ Michael John Avenatti
26                                             MICHAEL JOHN AVENATTI
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 1                    DECLARATION OF MICHAEL J. AVENATTI
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 3    I, Michael J. Avenatti, declare:
 4            1.   I am the defendant in United States v. Michael John Avenatti (CDCA
 5    Case No. SA CR No. 19-061-JVS) and am appearing in this matter pro se. I make
 6    this declaration in support of the Defendant’s Ex Parte Application for An Order
 7    Extending Defendant’s Temporary Release from December 1, 2021 to March 1,
 8    2022.
 9            2.   Pursuant to this Court’s prior Orders, defendant is presently on
10    temporary release and home confinement in Venice, California. Absent a further
11    extension, defendant will be required to self-surrender on December 1, 2021. For
12    the reasons that follow, Defendant respectfully requests the ability to remain on
13    temporary release for an additional ninety (90) days - until March 1, 2022.
14            3.   On November 3, 2021, the Hon. Paul Gardephe, U.S. District Court
15    Judge for the Southern District of New York, granted, over the objection of the
16    government, defendant’s application to extend his surrender date in connection
17    with his 30-month sentence to February 28, 2022 so that defendant could assist
18    with an upcoming trial and his Ninth Circuit appeal relating to the denial of his
19    claim of double jeopardy, which this Court has held raises a “substantial question”
20    and which the Ninth Circuit recently declined to dismiss. A copy of Judge
21    Gardephe’s Order and the defendant’s application is attached hereto as Exhibit A.
22    The reasons included in that application have equal weight here.
23            4.   On January 24, 2022, Defendant is scheduled to appear for trial in the
24    Southern District of New York before the Hon. Jesse M. Furman (Case No. 19-
25    00374-JMF). See Dkt. 160. Jury selection is set to begin on January 13, 2022, with
26    motions in limine due December 9, 2021, and a final pre-trial conference set for
27    January 18, 2022. Defendant cannot adequately prepare for trial, assist and meet
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 1    with his counsel, review the necessary discovery and meaningfully participate in
 2    the pre-trial and trial proceedings if he is remanded to custody.
 3          5.     Defendant is presently assisting his pro bono appellate counsel, Mr.
 4    Howard Srebnick, who did not participate in the six-week trial, with the Ninth
 5    Circuit appeal. Because defendant represented himself at trial and was intricately
 6    involved with the Brady issues that arose, which led to the mistrial, defendant’s
 7    knowledge of the record and assistance on the appeal is critical. Defendant
 8    successfully motioned the Ninth Circuit for expedited treatment of his appeal – his
 9    opening brief is now due November 30, with his reply likely due January 21, 2022.
10    The Ninth Circuit has set oral argument for the week of March 7-11, 2022.
11    Defendant cannot provide the necessary assistance if he is remanded now,
12    especially in light of the continuing Covid-19 restrictions applicable to federal
13    inmates.
14          6.     Defendant continues to review the recently produced discovery from
15    this case in anticipation of a possible re-trial (in the event his appeal is denied).
16    This case involves well over 1,000,000 pages of discovery, hundreds of exhibits
17    identified by the government, over 35 government witnesses, and a number of
18    complex legal issues. The government only recently, on or about September 16,
19    2021 produced forensic copies of the servers from defendant’s law firm, which
20    contain over 19.86 terabytes of data. Defendant continues to review this data,
21    together with his computer expert and paralegals, as well as the Tabs data. See,
22    e.g., Dkt. 859 filed in camera. In order to properly prepare for a potential trial in
23    this complex case, Mr. Avenatti requires regular access to (a) the vast amount of
24    discovery in this case, including the 6 GB of Tabs and QuickBooks data recently
25    produced by the government; (b) his advisory counsel and paralegals; (c) a
26    computer, printer and legal research; and (d) defense witnesses. This access cannot
27    occur if defendant is in custody.
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 1          7.     The Bureau of Prisons (“BOP”) COVID-19 protocols associated with
 2    holding defendant in custody will severely impede defendant’s ability to meet with
 3    his defense teams and witnesses, his access to discovery, trial exhibits, etc., and
 4    infringe on his right to meaningfully participate in his defense and mount a defense
 5    in this case and in the case before Judge Furman. Defendant also needs to be able
 6    to easily exchange facts and information with his team as the trial progresses.
 7          8.     As the Court noted during the final pre-trial conference in this case,
 8    the risks associated with COVID-19 are still significant and the vaccine is “no
 9    silver bullet” – even if one is vaccinated, you can still contract the virus and suffer
10    serious illness. In fact, the virus still poses a significant threat as evidenced by the
11    recent number of cases, hospitalizations and deaths in Orange County. See “Orange
12    County’s Covid-19 hospitalizations inch up,” Nov. 17, 2021, attached as Exhibit B.
13    And health experts predict a rise in cases that exceeds last Summer’s numbers. See
14    id. Further, the risks of placing someone in custody generally, and the risks to
15    defendant in particular, are already well documented in the record in this case.1
16    See also “Fast, frequent and widespread: Covid-19 outbreaks inside federal
17    prisons,” UCLA, November 2021 (attached as Exhibit C).
18          9.     Defendant has been vaccinated but is not yet eligible for the booster
19    shot because his second vaccine shot was less than six months ago. When he is
20    eligible, he will promptly receive the booster.
21          10.    Defendant has complied with the terms of his temporary release for
22    nearly 19 months and continues to comply with the terms without incident. The
23    Court recently observed defendant in trial for over six weeks – defendant
24    1
       See, e.g., (a) the Opposition [Docket No. 271] to the Government’s Motion to
25    Terminate and Not Further Extend Defendant Michael John Avenatti’s Temporary
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      Release, which is pending, and (b) the accompanying declarations filed with the
      Opposition, including that of board-certified infectious disease specialist Dr. F.
27    Ramzi Asfour (under seal) [Docket No. 280].
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 1    consistently appeared as directed, complied with the directives of the Court and
 2    demonstrated respect for the Court, its staff and the process. Further, on May 14,
 3    2021, the Pretrial Services Agency submitted a report to the Court stating that
 4    “Throughout the period of temporary release, the defendant has remained in
 5    compliance and has been cooperative with directives from Pretrial Services” (page
 6    3)(emphasis added). According to PSA, defendant “has shown a pattern of
 7    consistently compliant behavior” and PSA “has not received any new information
 8    that would suggest [Mr. Avenatti] is a flight risk or danger to the community.” Id.
 9    In addition, in PSA’s view, the government has not provided anything new that
10    would suggest defendant is currently a flight risk or danger to the community. Id.
11    Moreover, defendant travelled to New York and back for his sentencing in the
12    Nike related case in early July with no issues or complications.
13          11.    In connection with defendant’s sentencing in New York on July 8,
14    2021, Judge Gardephe found that defendant had faced “horrific conditions” while
15    in custody in New York for 100 days, almost all of which was in solitary
16    confinement and/or under lock down status. He also specifically stated it was hard
17    to believe that the conditions defendant had to endure could occur in the United
18    States: “Mr. Avenatti was held in horrific conditions at the MCC for more than
19    three months, in solitary confinement for much of the time and in lockdown for
20    nearly all of it; first, because a loaded handgun had been smuggled by someone
21    into the facility, and later because of the Covid-19 pandemic. Conditions were
22    terrible. It’s hard to believe they could occur in the United States of America. Mr.
23    Avenatti himself was at risk from the Covid-19 virus as the result of a preexisting
24    medical condition.” See, e.g., SDNY Case No. 19-CR-00373-PGG, Dkt. 341, p.
25    43. In particular, defendant was held in solitary confinement for weeks in “10
26    South” – the highest security pre-trial unit in the United States, with only six to
27    seven cells, which was constructed after 9/11 for the purpose of holding suspected
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 1    international terrorists and has been described as worse than Guantanamo Bay. The
 2    conditions at the jail generally are so substandard and barbaric, that it was recently
 3    announced by the Department of Justice that it is being shut down. See, e.g.,
 4    “Justice Dept. to Close Troubled Jail Where Jeffrey Epstein Died,” New York
 5    Times, August 26, 2021.
 6          12.    Placing defendant in custody now will result in additional burdens and
 7    impediments being placed on this Court and the court in New York, the defense in
 8    this case and the defense in New York, and the government in connection with
 9    both cases. This situation is already challenging enough for all involved without
10    these added challenges and obstacles.
11          13.    Remanding defendant now would serve no legitimate purpose. There
12    is no prejudice to the government if defendant is permitted to remain on release,
13    but as outlined above, there is significant prejudice to the defendant if he is
14    remanded.
15          14.    The Bail Reform Act of 1984, 18 U.S.C. §§ 3141, et seq. requires the
16    release of a person facing trial under the least restrictive condition or combination
17    of conditions that will reasonably assure the appearance of the person as required
18    and the safety of the community. See United States v. Gebro, 948 F.2d 1118, 1121
19    (9th Cir. 1991); United States v. Motamedi, 767 F.2dd 1403, 1405 (9th Cir. 1985).
20    Only in rare circumstances should release be denied, and doubts regarding the
21    propriety of release must be resolved in favor of release. See Gebro, 948 F.2d at
22    1121; Motamedi, 767 F.2d at 1405. The Act requires release unless no combination
23    of conditions can reasonably assure the appearance of the person and the safety of
24    the community. 18 U.S.C. § 3142. Further, § 3142 does not seek ironclad
25    guarantees and the requirement that conditions of release will “reasonably assure”
26    the safety of the community cannot be read to require a set of conditions that make
27    it a near certainty that the community will be protected at all times under any
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 1    conceivable set of circumstances. See, e.g., United States v. Tortora, 922 F.2d 880,
 2    884 (1st Cir. 1990) (where the issue is the safety of the community, Congress did
 3    not require guarantees in enacting the Bail Reform Act). Critically, “A finding that
 4    a defendant is a danger to any other person or the community must be supported by
 5    ‘clear and convincing evidence,’” United States v. Hir, 517 F.3d 1081, 1086 (9th
 6    Cir. 2008), as must a finding that no combination of conditions will reasonably
 7    assure the safety of the community. See U.S.C. § 3142(f)(2)(B). Moreover, this
 8    requirement remains constant throughout a case, and must take into account
 9    changed circumstances, the introduction of new facts and information, and the
10    passage of time. As a result, findings that defendant is presently a danger to the
11    community and no conditions can reasonably assure safety must both be supported
12    by clear and convincing evidence. The government is unable to meet either of
13    these two requirements under the current facts.
14          15.    The Ninth Circuit has held that the Bail Reform Act does not
15    authorize pretrial detention on the ground that the defendant presents a risk of
16    danger to the community unless one of the two § 3142(f) factors is also applicable:
17    (1) the defendant is charged with one of the enumerated offenses listed in U.S.C. §
18    3142(f)(1)(A)-(E) (involving crimes of violence, offenses for which the maximum
19    sentence is life imprisonment or death, drug trafficking offenses, felonies involving
20    a minor victim, and offenses involving the possession or use of a firearm (the
21    “enumerated offenses”), or (2) the government shows that there is a “serious risk
22    that [the defendant] will flee” or obstruct justice.2 18 U.S.C. § 3142(f)(2). As the
23    Ninth Circuit held in United States v. Twine, 344 F.3d 987 (9th Cir. 2003): “We
24    are not persuaded that the Bail Reform Act authorizes pretrial detention without
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        This is a far higher standard than ordinary “risk of flight” and requires the
      government to substantiate its request that no bail be granted with evidence that
27    there is a serious risk the defendant will flee.
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 1    bail based solely on a finding of dangerousness. This interpretation of the Act
 2    would render meaningless 18 U.S.C. § 3142(f)(1) and (2). Our interpretation is in
 3    accord with our sister circuits who have ruled on this issue. See United States v.
 4    Byrd, 969 F.2d 106 (5th Cir. 1992); United States v. Ploof, 851 F.2d 7 (1st Cir.
 5    1988); United States v. Himler, 797 F.2d 156 (3d Cir. 1986).” Accordingly, alleged
 6    danger to the community, standing alone, is not enough. Absent one of these two
 7    factors, a defendant must be granted bail. Every other circuit court that has
 8    addressed this issue – the First, Second, Third, Fifth and D.C. – agrees with the
 9    Ninth Circuit’s decision in Twine. See United States v. Friedman, 837 F.2d 48, 49
10    (2d Cir. 1988)(“The Bail Reform Act does not permit detention on the basis of
11    dangerousness in the absence of risk of flight, obstruction of justice, or an
12    indictment for the offenses enumerated [in § 3142(f)(1)].”); United States v.
13    Singleton, 182 F.3d 7, 9 (D.C. Cir. 1999); United States v. Byrd, 969 F.2d 106, 110
14    (5th Cir. 1992)(“[W]e find ourselves in agreement with the First and Third
15    Circuits: a defendant’s threat to safety of other persons or to the community,
16    standing alone, will not justify pre-trial detention” and even “a defendant who
17    clearly may pose a danger to society cannot be detained on that basis alone.”
18    (emphasis added); United States v. Ploof, 851 F.2d 7 (1st Cir. 1988); United States
19    v. Himler, 797 F.2d 156 (3d Cir. 1986).
20          16.    Moreover, district courts in the Ninth Circuit have consistently
21    followed the Ninth Circuit’s holding in Twine and granted bail, including over the
22    objection of the government, in cases where only danger to the community is
23    alleged. See, e.g., United States v. Djoko, 2019 WL 4849537, at *2 (W.D. Wash.
24    Oct. 1, 2019) (revoking a U.S. Magistrate Judge's order of detention for a
25    defendant charged with cyberstalking, citing legislative history for its finding that
26    “Congress limited the categories of cases eligible for pretrial detention to those
27    listed in 18 U.S.C. § 3142(f)” and that it did so “[t]o ensure that pretrial detention
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 1    would continue to be an exception[,]” and noting that “unless the government can
 2    show by a preponderance of the evidence that a case falls into one of those [§
 3    3142(f)] categories, a defendant cannot be detained pending trial”); United States
 4    v. Gentry, 455 F. Supp. 2d 1018, 1019 n.2 (D. Ariz. Oct. 5, 2006) (“Since none of
 5    the crimes charged in the indictment meet the statutory definition of ‘crime of
 6    violence’ . . . the Government does not argue as a basis for detention that
 7    Defendant is a danger to the community.”). See also United States v. Qazi, 2017
 8    WL 2484102, at *11 (D. Nev. June 8, 2017) (noting that the defendant was
 9    “eligible for detention based on the offense charged” because “in 2006, Congress
10    amended the Bail Reform Act to authorize detention of a defendant charged with
11    any felony that involves possession or use of a firearm”); United States v. Bell,
12    2008 WL 11411709, at *2 (C.D. Cal. June 6, 2008) (noting that the court was
13    authorized to detain the defendant as a danger to the community because the
14    defendant was charged with an enumerated offense).
15          17.    Under Twine and its progeny, in order to have defendant placed in
16    custody pre-trial, the government must show that defendant is not only presently a
17    danger to the community but also that he is a serious flight risk. And the
18    government must show that no combination of conditions can reasonably assure
19    the appearance of the defendant and the safety of the community. Under the facts
20    of the last nearly nineteen months, the government cannot meet their burden.
21    Defendant has shown that there is a set of conditions that can assure the safety of
22    the community and his appearance in court - indeed he has appeared at least 30
23    times before this Court on time. Further, this Court, together with (a) every other
24    court faced with the question of defendant’s risk of flight, (b) PSA, and (c) U.S.
25    Probation (in connection with the Nike sentencing), has previously found that
26    defendant is not a flight risk, let alone a serious flight risk as required pursuant to
27    Twine.
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 1          18.    For each of the above reasons, defendant respectfully requests that the
 2    Court extend his temporary release to March 1, 2022, under the same conditions
 3    previously ordered.
 4          19.    On November 17, 2021, the defendant contacted the government and
 5    was informed that the government opposes this Application. Defendant reserves
 6    the right to respond to any opposition the government may file.
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 8          I declare under penalty of perjury under the laws of the United States of
 9    America that the foregoing is true and correct.
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11     Dated: November 18, 2021
12                                             /s/ Michael John Avenatti
13                                           MICHAEL JOHN AVENATTI

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                                               October 29, 2021

 BY ECF                                     MEMO ENDORSED

                                            The application is granted. Defendant Michael Avenatti’s surrender
 The Honorable Paul G. Gardephe
                                            date is adjourned from December 15, 2021 to February 28, 2022.
 United States District Judge
 Southern District of New York
 40 Foley Square
 New York, NY 10007

 RE:    United States v. Michael Avenatti
        19 Cr. 373 (PGG)
                                                            November 3, 2021
 Dear Judge Gardephe:

        Alongside counsel for Michael Avenatti in United States v. Michael Avenatti,
 19 Cr. 374 (JMF), I write in response to the Government’s letter motion requesting
 that the Court reschedule Mr. Avenatti’s surrender date from December 15, 2021 to
 November 12, 2021, which was filed without notice to the defense. The Court should
 deny the Government’s motion and, instead, extend Mr. Avenatti’s surrender date
 from December 15, 2021 to February 28, 2022. This extension is necessary to afford
 Mr. Avenatti a meaningful opportunity to participate in his trial preparation in 19
 Cr. 374 (JMF), which is currently scheduled to begin on January 10, 2022, and his
 pending Ninth Circuit appeal, which includes an expedited briefing schedule (at Mr.
 Avenatti’s request).

        Since sentencing Mr. Avenatti to 30 months this past July, the Court granted
 Mr. Avenatti’s requests for a delay in his surrender date, recognizing that his
 incarceration would interfere with his ability defend himself against a separate
 prosecution in the Central District of California. As the Court is aware, Mr.
 Avenatti’s case in the Central District of California was declared a mistrial due to a
 significant Brady violation,1 and the issue of whether Mr. Avenatti can be retried is
 currently pending before the Ninth Circuit Court of Appeals. Earlier this week, Mr.
 Avenatti successfully moved for an expedited briefing schedule for that appeal—his
 opening brief is due November 30, 2021 and his reply is due 21 days after the
 Government’s response, which is due December 30, 2021. Mr. Avenatti remains on

 1 See United States v. Michael Avenatti, CR-19-061-JVS, Dkt. No. 867, page 4, lines 10-12 (“I found
 a Brady violation with respect to a very important range of documents relating to the financial
 affairs of Mr. Avenatti’s firm.”).
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 home confinement in connection with that prosecution, under strict conditions.

        In addition, Mr. Avenatti is actively preparing for his upcoming trial before
 Judge Furman in 19 Cr. 374. It is axiomatic that Mr. Avenatti’s ability to both
 participate in his pending appeal before the Ninth Circuit (which is critical as he is
 most familiar with the record having proceeded pro se) and in his upcoming trial
 before Judge Furman would be significantly and unfairly hampered by his remand
 to custody.

        Against this backdrop, the Government’s request to expedite Mr. Avenatti’s
 surrender date is unjustifiable and unsupported by the totality of the
 circumstances. Mr. Avenatti is neither a flight risk nor a danger to the community,
 a finding that has been repeatedly made, including in the Pre-Sentence Report
 prepared in connection with this case in May 2020 (Dkt. No. 295) and in a report
 issued approximately five months ago by Pre-Trial Services in the Central District
 of California. In particular, the C.D. Ca. report indicated that Mr. Avenatti “has
 remained in compliance and been cooperative with directives from Pretrial Services”
 and that there is no information suggesting Mr. Avenatti is a flight risk or a danger
 to the community. In that same report, C.D. Ca. Pre-Trial Services recommended
 that the district court grant Mr. Avenatti permanent bond.

        In addition, Mr. Avenatti still has not received his designation from the
 Bureau of Prisons. This means that should Mr. Avenatti be forced to surrender in
 connection with this case on the timeline suggested by the Government, he would
 likely be remanded to a high-security pre-trial facility in C.D. Ca. or in this
 District—i.e., MDC Brooklyn. This Court previously found as follows as it relates to
 Mr. Avenatti’s prior incarceration at MCC: “[M]r. Avenatti was held in horrific
 conditions at the MCC for more than three months, in solitary confinement for
 much of the time and in lockdown for nearly all of it . . . . Conditions were terrible.
 It's hard to believe they could occur in the United States of America. Mr. Avenatti
 himself was at risk from the Covid-19 virus as the result of a preexisting medical
 condition.” Tr. July 8, 2021, page 43, lines 2-10. We respectfully submit that the
 conditions that existed at the time of Mr. Avenatti’s imprisonment at MCC have not
 abated and are just as bad now, if not worse, at MDC Brooklyn, where COVID,
 overcrowding, and neglect remain a pervasive feature of daily life.




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       For all these reasons, we respectfully submit that extending Mr. Avenatti’s
 surrender date until at least the conclusion of his case in 19 Cr. 374 (JMF) is
 appropriate and in the interests of justice.


                                       Respectfully Submitted,


                                              /s/
                                       Scott Srebnick, Esq.
                                       Counsel of Record in 19 Cr. 373 (PGG)


                                             /s/
                                       Robert M. Baum, Esq.
                                       Andrew J. Dalack, Esq.
                                       Tamara L. Giwa, Esq.
                                       Counsel of Record in 19 Cr. 374 (JMF)




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 3
                                CERTIFICATE OF SERVICE
 4
 5          I, H. Dean Steward, am a citizen of the United States, and am at least 18 years

 6    of age. My business address is 17 Corporate Plaza, Suite 254, Newport Beach,
 7
      California 92660. I am not a party to the above-entitled action. I have caused, on
 8
 9    November 18, 2021, service of the defendant’s:

10      EX PARTE APPLICATION FOR AN ORDER EXTENDING DEFENDANT’S
11
                                   TEMPORARY RELEASE
12
13    on the following party, using the Court’s ECF system:

14    AUSA BRETT SAGEL AND AUSA ALEXANDER WYMAN
15
      I declare under penalty of perjury that the foregoing is true and correct.
16
17    Executed on November 18, 2021
18
                                              /s/ H. Dean Steward
19
                                              H. Dean Steward
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